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                                  INFORMATION SHEET                              iNCLEW^mCE
                                                                    ^11      US DISTRICT COURT E.D.N.Y.
                            UNITED STATES DISTRICT COUOT*                         .,.p o q ono ^
                           EASTERN DISTRICT OF NEW YOR^ j * AUO <• 3
                                                                             BROOKLYN OFFICE
1.      Title of Case: United States v. Dilshod Khusanov

2.      Related Magistrate Docket Number(s):.

3.      Arrest Date: Cliok hcro to enter a date:
                                                                     AMON,J.—
4.      Nature of offense(s): !EI Felony
                                                                     SCANLON, M.J.
                                □    Misdemeanor


5.      Related Cases - Title and Docket No(s). (Pursuant to Rule 50.3.2 of the Local
        E.D.N.Y. Division of Business Rules): United States v. Juraboev. 15-CR-95 (WFK)

6.      Projected Length of Trial:   Less than 6 weeks
                                     More than 6 weeks      □


7.      County in which crime was allegedly committed: Queens
        (Pursuant to Rule 50.1(d) of the Local E.D.N.Y. Division of Business Rules)

8.      Was any aspect of the investigation, inquiry and prosecution giving rise to the case
        pending or initiated before March 10, 2012.'                DYes IS No

9.      Has this indictment/information been ordered sealed?         iS Yes □ No


10.     Have arrest warrants been ordered?                           IS Yes DNo


11.     Is there a capital count included in the indictment?        DYes S No

                                                    BRIDGET M.ROHDE
                                                                          ^ Attorney

                                             By:
                                                    Alexander A. Solomon
                                                    Assistant U.S. Attorney
                                                    (718) 254-6074


        Judge Brodie will not accept cases that were initiated before March 10, 2012.



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